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                                                                         Hearing Date: March 26, 2018 at 9:30 a.m.
                                                                        Objection Date: March 19, 2018 at 4:00 p.m.




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:
                                                                 Case No. 8-17-77117-reg

693 PENINSULA CORP.,
                                                                 Chapter 7

                          Debtor.

-------------------------------------------------------------X

    TRUSTEE’S APPLICATION FOR: (i) ORDER APPROVING SALE
    PROCEDURES FOR AUCTION SALE OF REAL PROPERTY AND
    APPROVING TERMS AND CONDITIONS OF SALE; AND (ii) ORDER
    DESIGNATING THE SUCCESSFUL BIDDER AND BACK-UP BIDDER,
    AUTHORIZING THE TRUSTEE’S SALE OF REAL PROPERTY FREE
    AND CLEAR OF LIENS, AND GRANTING RELATED RELIEF________


TO:     THE HON. ROBERT E. GROSSMAN,
        UNITED STATES BANKRUPTCY JUDGE:

        Robert L. Pryor, Chapter 7 trustee (the "Trustee") of the bankruptcy estate (“Estate”) of

693 Peninsula Corp. ("Debtor"), the Debtor in the above-captioned Chapter 7 case, by his

attorneys, Pryor & Mandelup, L.L.P., submits this Application in support of the entry of an

Order (the “Sale Procedures Order”), substantially in the form annexed hereto as Exhibit “A”:

(i) pursuant to 11 U.S.C. §§ 105(a), 363(b)(1), and 363(f), Rules 2002(a)(2), 6004(c), 9006(d),

and 9014 of the Federal Rules of Bankruptcy Procedure (the ABankruptcy Rules@), E.D.N.Y.



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LBR 6004-1, and Administrative Order No. 557 of the Board of Judges of the United States

Bankruptcy Court for the Eastern District of New York, (a) authorizing the Trustee to sell

Debtor's fee simple interest in the non-residential real property located at 693 Peninsula

Boulevard, Hempstead, New York 11550, denoted on the Nassau County Tax Map as Section

34, Block G, Lots 587, 588, and 644 (“the Property”), at a public auction sale (the “Auction”), to

the bidder offering the highest and best bid (the “Successful Bidder”), Aas is@, Awhere is@, Awith

all faults@, without any representations, covenants, guarantees or warranties of any kind or nature

whatsoever and free and clear of all liens, claims, encumbrances, and interests (collectively,

“Liens”) with such Liens, if any, to attach to the proceeds of sale net of the following expenses:

(a) all reasonable and customary closing costs, and closing adjustments, including but not limited

to recordation fees, transfer taxes, if any, title insurance charges, pickup fees, etc.; (b) all taxes

associated with the Sale, including real estate taxes and any capital gains taxes which may be

incurred by the Estate as a result of the Sale; (c) the Trustee’s compensation, if any, as ordered

by this Court either pursuant to 11 U.S.C. § 326 or § 506(c) as this Court may determine,

computed against the gross sale proceeds actually received (exclusive of any credit bids by

holders of liens against the Property ) on account of the Sale as approved by final order of the

Bankruptcy Court; (d) the Trustee’s reasonable legal fees and actual and necessary

disbursements directly related to the sale and marketing of the Property as approved by final

order of the Bankruptcy Court; (e) the Auctioneer’s commissions, measured pursuant to

E.D.N.Y. LBR 6005-1(b)(i), computed against the gross sale proceeds actually or constructively

received on account of the Sale, and as approved by final order of the Bankruptcy Court; and (f)

the Auctioneer’s reasonable and necessary expenses directly related to the Sale, measured

pursuant to E.D.N.Y. LBR 6005-1(b)(ii), and as approved by final order of the Bankruptcy Court



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(the “Net Proceeds”), with the same extent, validity, and priority as such Liens had against the

Property; (b) approving the Terms and Conditions of Sale (the “Sale Terms”) for the sale of the

Property (a copy of which is annexed hereto as Exhibit “B”); and (c) establishing bidding and

other procedures for the Auction sale of the Property by the Trustee’s duly retained auctioneer

(the “Auctioneer”); (ii) authorizing the Trustee, following conclusion of the Auction sale of the

Property, to submit, ex parte, to the Court for entry a proposed order, substantially in the form

annexed hereto as Exhibit “C” (the “Sale Confirmation Order”), (a) designating the highest and

best offeror for the Property at the Auction sale (the “Successful Bidder”) and the next highest

and best offeror (the “Back-Up Bidder”); (b) approving the Trustee’s sale of the Property to the

Successful Bidder or, if appropriate, the Back-Up Bidder or such other bidder, free and clear of

Liens, with Liens to attach to the Net Proceeds; (c) making findings of fact regarding the

propriety of the sale and appropriate protections for the purchaser; and (d) waiving the fourteen

(14) day stay imposed by Bankruptcy Rule 6004(h); and (iii) granting such other and further

relief as the Court deems just and proper, and respectfully represents as follows:

            JURISDICTION, VENUE AND STATUTORY PREDICATE

       1. This Court has jurisdiction to hear and determine this Application pursuant to 28

U.S.C. '' 157 and 1334. Venue of this Chapter 7 case and this Application in this district is

proper pursuant to 28 U.S.C. ' 1408. The statutory predicates for the relief sought herein are 11

U.S.C. '' 105(a), 363(b)(1) and (363)(f), Bankruptcy Rules 2002(a)(2), 6004(c), 9006(d), and

9014, and E.D.N.Y. LBR 6004-1.




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                                    BACKGROUND

       2.      On November 18, 2017 (the AFiling Date@), Debtor filed a voluntary petition for

relief from its creditors under Chapter 7 of the Bankruptcy Reform Act of 1978, as amended (the

ABankruptcy Code@).

       3.      On December 18, 2017, the first meeting of creditors was held, pursuant to 11

U.S.C. § 341(a), at which time Robert L. Pryor qualified as permanent trustee of Debtor’s Estate.

       4.      By deed, dated December 22, 2003 and recorded in the Nassau County Clerk's

Office on January 28, 2004, Debtor became the sole owner of the Property. Prior to the Filing

Date, Debtor operated an automobile lubrication business at the Property.

       5.      The lien search, dated February 14, 2018, ordered by the Trustee (a copy of which

is annexed hereto as Exhibit “D”) indicates there are no mortgages or other Liens against the

Property and unpaid real estate taxes currently due, which may, in the future, become Liens if

not paid, total $26,362.08.

       6.      By Order, entered January 9, 2018 [Dkt. No. 13] the Trustee was authorized to

retain as his auctioneer to sell the Property, Maltz Auctions, Inc.(“Auctioneer”).

                              RELIEF REQUESTED

               The Sale Procedures Order

       7.      The Auctioneer has inspected the Property and advised the Trustee that it has a

likely sale value in excess of any Liens. Accordingly, the Trustee believes that there will be

sufficient value in the Estate=s interest in the Property to warrant a sale and that a sale will

generate sufficient Net Proceeds to provide for a distribution to general unsecured creditors.

       8.      The Trustee seeks entry of the Sale Procedures Order in the form annexed as

Exhibit “A” hereto. The Sale Procedures Order authorizes the Trustee to sell the Property, pursuant



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to the Sale Terms and the Sale Procedures Order, at a public auction sale to be conducted by the

Auctioneer, approves the Sale Terms annexed to the Sale Procedures Order, and establishes bidding

procedures for the Auction sale of the Property.

       9.         Pursuant to the proposed Sale Terms, the Sale Procedures Order provides that the

sale is being made “as is”, “where is”, “with all faults”, without any representations, covenants,

guaranties, or warranties of any kind or nature whatsoever. To qualify to bid, each bidder must

deposit with the Trustee, prior to the Auction, the sum of $50,000.00 as a partial good faith deposit

against payment of the purchase price if such bidder is determined to be the Successful Bidder for

the Property.

      10. Within 48 hours after conclusion of the Auction, the Successful Bidder must deliver to

the Trustee sufficient funds to increase its deposit to an amount equal to 10% of the successful bid.

Within five (5) business days after such deposit has been paid, the Trustee shall release to the Back-

Up Bidder its initial deposit. The Successful Bidder must pay the balance of the purchase price for

the Property to the Trustee at the closing of title (the “Closing”) which is to occur on or before 45

days after the conclusion of the Auction, with time of the essence against the purchaser.

       11.        The Sale Procedures Order provides for notice of the Sale and the Terms of Sale to

be given, by first class mail, to Debtor, Debtor’s attorney, all creditors in Debtor’s Chapter 7 case,

all parties filing notice of appearance in Debtor’s Chapter 7 case, the Office of the United States

Trustee, and all holders of Liens against the Property as indicted on the Lien search annexed hereto

as Exhibit “D”.

       12.        Based on the foregoing and after consultation with his professionals, the Trustee has

determined, in his business judgment, that a sale of the Property to the highest and best offer

obtained at a public auction sale, pursuant to 11 U.S.C. § 363(b)(1), after a reasonable marketing



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effort, is in the best interest of the Estate and Debtor’s creditors, and would provide the most

effective and economical mechanism for maximizing the value of the Property for the benefit of the

Estate.

          13.   The Trustee submits that the sale procedures provided for in the Terms of Sale and

the Sale Procedures Order will promote competitive bidding, streamline the public auction sale, and

assure that the bidders have the financial ability to purchase the Property. The Trustee submits that

cause exists to approve the proposed Sale Procedures Order and the Terms of Sale as being in the

best interest of Debtor’s Estate and creditors. The Trustee submits that the proposed sale procedures

are consistent with Administrative Order 557, adopting sale guidelines (the “Sale Guidelines”) and

that the proposed sale procedures are free of Extraordinary Provisions (as that term is defined in the

Sale Guidelines) other than the request for relief from the fourteen (14) day stay under Bankruptcy

Rule 6004(h) for the reasons set forth below.

                Authority to Sell the Property - Section 363(b)

          14.   11 U.S.C. § 363(b)(1) authorizes a trustee to use, sell, or lease, other than in the

ordinary course, property of the estate. Section 363 does not set forth a standard for determining

whether a sale of property under Section 363(b)(1) should be approved, however, courts have

consistently applied an “articulated business judgment” standard when interpreting this section.

See, Stephen Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Continental Airlines,

Inc., 780 F.2d 1223, 1226 (5th Cir. 1986); In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir.

1983)(“Lionel”); Walter v. Sunwest Bank (In re Walter) 83 B.R. 14, 17 (9th Cir. BAP 1988); In re

Channel One Communications Inc., 117 B.R. 493, 496 (Bankr. E.D.Mo. 1990); In re Ionosphere

Clubs, 100 B.R. 670, 675 (Bankr. S.D.N.Y. 1989); and In re Baldwin United Corp., 43 B.R. 888,

906 (Bankr. S.D. Oh. 1984).



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        15.     The foregoing standard for approval of a sale of the Property under 11 U.S.C. §

363(b)(1) is easily met because the Chapter 7 trustee has a statutory duty to liquidate assets

expeditiously. 11 U.S.C. § 704(a)(1). Furthermore, an auction sale of the Real Property is

permissible, as Bankruptcy Rule 6004(f)(1) provides in relevant part that “[a]ll sales not in the

ordinary course of business may be by private sale or by public auction.” Chapter 7 trustees often

exercise authority to sell a debtor’s assets. See, In re Stein, 281 B.R. 845, 848 (Bankr. S.D.N.Y.

2002) (discussing the Chapter 7 trustee’s right to sell the assets of a debtor under the Bankruptcy

Code); and In re Bakalis, 220 B.R. 525, 531-32 (Bankr. E.D.N.Y. 1998) (explaining the Chapter 7

trustee’s authority to conduct the sale of a debtor’s assets).

        16.     Here the Trustee has a significant business justification for the sale of the Property as

the Auction sale is likely to generate sufficient funds to make a substantial distribution to general

unsecured creditors and the alternative to a sale of the Property is abandonment of the Property by

the Trustee which would result in no funds for distribution to creditors. Therefore, the Trustee, in

the exercise of his reasonable business judgment, recommends that the Court approve the proposed

sale of the Property.

                Authority to Sell the Property Free and Clear of Liens,
                with Liens to Attach to the Net Proceeds per 11 U.S.C. § 363(f)


        17.     11 U.S.C. ' 363(f) provides that,

                        The trustee may sell property under subsection (b) or (c) of this section,
                        free and clear of any interest in such property of an entity other than the
                        estate, only if-

                        (1) applicable nonbankruptcy law permits sale of such property free and
                            clear of such interest;

                        (2) such entity consents;




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                      (3) such interest is a lien and the price at which such property is to be sold
                          is greater than the aggregate value of all liens on such property;

                      (4) such interest is in bona fide dispute; or

                      (5) such entity could be compelled in a legal or equitable such
                      entity could be compelled, in a legal or equitable proceeding
                      to accept money satisfaction of such interest.

                              (a) 11 U.S.C. § 363(f)(2)

       18.     The holders of any Liens, together with all holders of claims against the Debtor’s

Estate, as detailed in Debtor’s schedules, and all persons who have filed claims or notices of

appearance in this case, will be given notice of this Application and an opportunity to object to

the relief requested and any entity which does not object to the sale shall be deemed to have

consented. See, e.g., Futuresource L.L.C. v. Reuters, Ltd., 312 F.3d 281, 285-86 (7th Cir. 2002)

(the lack of an objection to a proposed sale of assets constitutes consent); In re Finley Enters.,

2009 Bankr. LEXIS 5258 at 7 (Bankr. S.D.N.Y. 2009) (holders of interest who do not object to

sale free and clear are deemed to consent); Hargrave v. Township of Pemberton (In re Tabone,

Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (failure to object to proposed sale free of has all

claims, liens and encumbrances satisfies the requirements of Section 363(f)(2)).

                              (b) 11 U.S.C. § 363(f)(3)

       19.     Section 363(f) is written in the disjunctive. As such, the Trustee need only satisfy

one of the five conditions to sell free and clear of Liens. See, 11 U.S.C. § 363(f); Mich.

Employment Sec. Comm'n v. Wolverine Radio Co. (In re Wolverine Radio Co.), 930 F.2d 1132,

1147, n. 24 (6th Cir. 1991) (recognizing that Section 363(f) is written in disjunctive and holding

bankruptcy court may approve sale "free and clear" provided that at least one subsection of

section 363(f) is met); cert, dismissed. 503 U.S. 978 (1992). Accord, Lionel, supra, 111 F.2d at




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1070-71; In re Dundee Equity Corp., 1992 WL 53743 (Bankr. S.D.N.Y. 1992); Citicorp

Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343, 345 (E.D. Pa. 1988).

       20.     The Trustee's auctioneer has advised that the Property has a likely sale value in

excess of $500,000. The Trustee’s lien search indicates that there are no Liens against the

Property and there are unpaid real estate taxes in the amount of approximately $26,362.18, as of

February 14, 2018, which will become Liens against the Property if not paid. Therefore, the

Trustee believes that the Property has substantial value in excess of all Liens and the proposed

sale satisfies the requirement of 11 U.S.C. § 363(f)(3) that the interest to be sold free and clear of

“is a lien and the price at which such Property is to be sold is greater than the aggregate value of

all liens on the property”.

       21.     Also, courts have held that Section 363(f)(3) “is to be interpreted to mean what it

says; i.e., the price must be equal to or greater than the aggregate value of the liens, asserted

against it, not their amount.” In re Becker Indus. Corp., 63 B.R. 474, 476 (Bankr. S.D.N.Y.

1986), rev’d on other grounds, 89 B.R.336 (S.D.N.Y. 1988). See also, In re Buston Generations,

LLC, 440 B.R. 302, 332-333 (Bankr. S.D.N.Y. 2010) (holding that the “value” of a lien is

determined by reference to 11 U.S.C. § 506(a) “that is, it is the amount by which the lien

holder’s claim is actually secured” and the best evidence of the value of the asset are the bids

received). Accordingly, the Auction will set the value of the Liens, any Liens in excess of the

Net Proceeds will not have value, and the Property may be sold free and clear of such Liens.

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       22.     The Trustee respectfully submits that the statutory requirements for the sale of the

Property free and clear of all Liens have been satisfied and that, consequently, the Trustee is




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entitled to the entry of the proposed Sale Procedures Order authorizing such sale pursuant to 11

U.S.C. ' 363(f)(2) and (3).

               Additional Provisions in the Sale Order

       23.     The Trustee intends to seek confirmation of the highest and best offer for the

Property at the Auction (the “Successful Bidder”) in the following manner: (i) within 48 hours of

the close of the Auction, the Trustee will file a declaration (the “Sale Declaration”) identifying the

Successful Bidder and the amount of the successful bid, and identifying the next highest bidder (the

“Backup Bidder”) and the amount of such bid, the marketing efforts undertaken leading up to the

Auction, and a detailed summary of the Auction, including but not limited to the number of

registered, qualified bidders at the Auction, and how many of those bidders actually submitted one

or more bids during the Auction. The Trustee also seeks authorization to submit to the Court, after

the Auction, a proposed Sale Confirmation Order, substantially in the form of Exhibit “C” hereto,

(i) designating of the Successful Bidder and Back-Up Bidder, (ii) authorizing the Trustee to close

the sale of the Property, pursuant to the Sale Terms and the Sale Procedures Order, by delivering to

the purchaser a duly executed quitclaim deed from the Trustee to the purchaser in the form annexed

hereto as Exhibit “E”; (iii) providing that the purchaser’s obligation to close the sale is time of the

essence against the purchaser, and providing the remedies for the Trustee if a purchaser fails to

timely close; (iv) providing that the sale is made Aas is@, Awhere is@, Awith all faults@, without any

representations, covenants, guarantees or warranties of any kind or nature whatsoever and free

and clear of all Liens, with such Liens, if any, to attach to the Net Proceeds of sale with the same

extent, validity, and priority as such Liens had against the Property; and (v) making findings of

fact regarding the propriety of the sale and affording the purchaser the protections of 11 U.S.C. §

363(m).



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                       Waiver of Bankruptcy Rule 6004(h)

       24.     Bankruptcy Rule 6004(h) provides: “An order authorizing the use, sale, or lease of

property other than cash collateral is stayed until the expiration of 14 days after entry of the order,

unless the court orders otherwise.” The Trustee seeks in the proposed Sale Confirmation Order a

waiver of the 14 day stay so as to permit the Trustee to close the Sale of the Real Property

immediately after entry of the order. As noted above, there are unpaid real estate taxes accruing

daily which will become Liens against the Property and will decrease the amount of Net Proceeds

available for distribution to unsecured creditors. Also, waiver of the 14 day stay will make a sale

more attractive to prospective bidders.

       25.     Accordingly, the Trustee seeks a waiver of the 14 day stay under Bankruptcy Rule

6004(h), so as not to further delay the closing of the Sale of the Property.

                                              SERVICE

       26.     The Trustee has served the Notice of Motion, this Application and the exhibits

hereto by first class mail, on twenty-four (24) days’ notice on: (i) Debtor; (ii) Debtor’s attorney;

and (iii) the Office of the United States Trustee. Copies of the Notice of Motion, the proposed Sale

Procedures Order, the Terms of Sale, and the proposed Sale Confirmation Order have been served,

by first class mail, on twenty-four (24) days’ notice on: (i) all creditors in Debtor’s Chapter 7 case;

(ii) all parties filing notices of appearance in Debtor’s Chapter 7 case; and (iii) each holder of a

Lien as identified on the Trustee’s lien search. The Trustee requests that such service be found to

be good and sufficient pursuant to Bankruptcy Rule 2002(a)(2).

       27.     Pursuant to the proposed Sale Procedures Order, the Trustee proposes to serve the

signed Sale Procedures Order, as a Sale Notice, within two (2) business days after entry of the Sale

Procedures Order, by first class mail, facsimile or e-mail on: (i) the Office of the United States



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 Trustee; (ii) Debtor; (iii) Debtor’s counsel; (iv) all creditors in Debtor’s Chapter 7 case; (v) all

 parties filing notices of appearance in Debtor’s Chapter 7 case; and (vi) all holders of Liens

 identified on the Trustee’s lien search.

                                        NO PRIOR REQUEST

        28.     No prior request has been made to this or any other Court for the relief sought

 herein.

                WHEREFORE, the Trustee respectfully requests: (a) entry of the proposed Sale

Procedures Order; (b) following the Auction, entry of the proposed Sale Order; and (c) such other

and further relief as this Court deems just and proper.

Dated: Westbury, New York
February 16, 2018                                PRYOR & MANDELUP, L.L.P.
                                                 Attorneys for Robert L. Pryor, Trustee


                                         By:     s/A. Scott Mandelup________
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